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                                    IN THE UNITED STATES DISTRICT COURT
                                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                                             BRUNSWICK DIVISION




              RALPH JAMES MERCADO,                         )



                                                           )


                                    Petitioner,            )
                                                                     CIVIL ACTION NO.: CV213-108
                                                           )


                             V.                            )



                                                           )


              UNITED STATES OF AMERICA,                    )
                                                                     (Case No.: CR295-06)
                                                           )


                                    Respondent.            )




                                                      ORDER


                       After an independent review of the record, the Court concurs with the Magistrate

              Judge's Report and Recommendation, to which no objections have been filed. Accordingly,

              the Report and Recommendation of the Magistrate Judge is adopted as the opinion of the

              Court.

                       The Government's Motion to Dismiss is GRANTED.           The Motion to Vacate

              Sentence, filed pursuant to 28 U.S.C. § 2255, is DISMISSED. The Clerk of Court is hereby

              authorized and directed to enter an appropri Judgment ofDismissal.

                       SO ORDERED, thisL) day of                                       2013.




                                                               LISA GODBEY WOOD, CHIEF JUDGE
                                                               UNITED STATES DISTRICT COURT
                                                               SOUTHERN DISTRICT OF GEORGIA




AO 72A
(Rev. 8/82)
